       Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 1 of 10




 1 Karma M. Giulianelli (SBN 184175)                      Brendan P. Glackin (SBN 199643)
   karma.giulianelli@bartlitbeck.com                      bglackin@agutah.gov
 2
   BARTLIT BECK LLP                                       OFFICE OF THE UTAH ATTORNEY
 3 1801 Wewetta St., Suite 1200                           GENERAL
   Denver, Colorado 80202                                 160 E 300 S, 5th Floor
 4 Telephone: (303) 592-3100                              PO Box 140872
 5                                                        Salt Lake City, UT 84114-0872
   Hae Sung Nam (pro hac vice)                            Telephone: (801) 366-0260
 6 hnam@kaplanfox.com
   KAPLAN FOX & KILSHEIMER LLP                            Counsel for the Plaintiff States
 7
   850 Third Avenue
   New York, NY 10022                                     Douglas J. Dixon (SBN 275389)
 8
   Tel.: (212) 687-1980                                   ddixon@hueston.com
 9                                                        HUESTON HENNIGAN LLP
   Co-Lead Counsel for the Proposed Class in In           620 Newport Center Drive, Suite 1300
10 re Google Play Consumer Antitrust Litigation
                                                          Newport Beach, CA 92660
11                                                        Telephone: (949) 229-8640
     Paul J. Riehle (SBN 115199)
12   paul.riehle@faegredrinker.com                        Counsel for Plaintiffs Match Group, LLC, et
     FAEGRE DRINKER BIDDLE & REATH                        al.
13   LLP
14   Four Embarcadero Center, 27th Floor                  Glenn D. Pomerantz (SBN 112503)
     San Francisco, CA 94111                              glenn.pomerantz@mto.com
15   Telephone: (415) 591-7500                            MUNGER, TOLLES & OLSON LLP
16                                                        350 South Grand Avenue, Fiftieth Floor
   Christine A. Varney (pro hac vice)                     Los Angeles, California 90071
17 cvarney@cravath.com                                    Telephone: (213) 683-9100
   CRAVATH, SWAINE & MOORE LLP
18 825 Eighth Avenue
                                                          Brian C. Rocca (SBN 221576)
19 New York, New York 10019                               brian.rocca@morganlewis.com
   Telephone: (212) 474-1000                              MORGAN, LEWIS & BOCKIUS LLP
20
                                                          One Market, Spear Street Tower
   Counsel for Plaintiff Epic Games, Inc. in Epic         San Francisco, CA 94105-1596
21
   Games, Inc. v. Google LLC et al.                       Telephone: (415) 442-1000
22

23                                                        Counsel for Defendants Google LLC et al

24

25

26 [Additional counsel appear on signature page]

27

28

                                  JOINT PROPOSED JURY QUESTIONNAIRE
        Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
      Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 2 of 10




 1

 2

 3                                UNITED STATES DISTRICT COURT
 4
                              NORTHERN DISTRICT OF CALIFORNIA
 5

 6                                     SAN FRANCISCO DIVISION

 7

 8
     IN RE GOOGLE PLAY STORE                             Case No. 3:21-md-02981-JD
 9   ANTITRUST LITIGATION

10   This Document Relates To:

     Epic Games, Inc. v. Google LLC et al.,              JOINT PROPOSED JURY
11                                                       QUESTIONNAIRE
     Case No. 3:20-cv-05671-JD
12
     In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD               Judge: Hon. James Donato
13

14   State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
15
     Match Group, LLC et al. v. Google LLC et
16   al., Case No. 3:22-cv-02746-JD

17

18

19

20

21

22

23

24

25

26

27

28
                                                        -2-
                                  JOINT PROPOSED JURY QUESTIONNAIRE
        Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
        Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 3 of 10




 1                  Subject to limited objections identified below, the Parties jointly propose the

 2 following case-specific questions to be added to the Court’s standard online, pre-service

 3 questionnaire for prospective jurors.

 4 I.       JOINT PROPOSED QUESTIONNAIRE

 5 1.       What are the specific duties and responsibilities of your job?

 6 2.       Do you have either strong positive or negative feelings about any of the following
            companies?
 7
            a.      Epic Games: □ Yes (Strong Positive) □ Yes (Strong Negative) □ No
 8
            b.      Match Group (Match, Tinder, OkCupid, PlentyofFish, and OurTime) : □ Yes
 9                  (Strong Positive) □ Yes (Strong Negative) □ No

10          c.      Google: □ Yes (Strong Positive) □ Yes (Strong Negative) □ No

11          If you answered Yes for any of the above, please explain:

12 3.       Do you own, or have you owned, a phone or other mobile device that uses the following
            operating systems. Check all that apply.
13
                    Apple Phone          Current___ Past____
14                  Android Phone        Current___ Past____
                    Other                Current___ Past____
15                  None – I haven’t owned a phone or other mobile device____
16          If you checked any of the above, please list the devices (e.g., iPhone 12, Samsung Galaxy
            S23, Motorola Moto G, Google Pixel 6, etc.):
17
            If you have downloaded apps onto your phone, from where have you downloaded those
18          apps. Check all that apply.

19                  Apple App Store         □
                    Google Play Store       □
20                  Other______             □

21          If you checked other, please list where you have downloaded apps:
            __________________________________________________________________
22          If you checked Google Play Store, please describe your use now or in the past and
            describe whether you have had an especially good or bad experience:
23

24 4.       Have you ever spent money on the following:

25          Online Gaming                                                    Yes___ No____
            Online Dating                                                    Yes___ No____
26          Subscriptions to online content                                  Yes___ No____
            Other online digital content (E.g., e-books, songs, etc.)        Yes___ No____
27
            If you answered Yes for any of the above, how often do you spend money on online
28          gaming, online dating, subscriptions to online content or other online digital content?
                                                         -3-
                                   JOINT PROPOSED JURY QUESTIONNAIRE
         Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
          Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 4 of 10




 1            □ Not at all □ Not very often □ Sometimes □ Often □ Very Often

 2 5.         Have you ever used an online dating app on your phone or other mobile devices?

 3                    Yes     □
                      No      □
 4
              If yes, please explain which app(s) you have used, for how long, and your overall
 5            experience (positive / negative, etc.):

 6            If you have ever spent money on online dating, did you make the purchase in the app, on a
              website, or both?:
 7 6.         Have you, or someone you closely know, ever developed an application (“app”) for a
              smartphone or other mobile device? □ Yes □ No
 8
              If yes, please describe:
 9
     7.       As part of your employment, have you ever worked for or with a company that develops
10            applications (“apps”) for smartphones or other mobile devices? □ Yes □ No
11            If yes, please describe:
12 8.         Do you have any education, or have you received any training, in antitrust laws, whether at
              work or at school? □ Yes □ No
13
              If yes, please describe:
14
     9.       Have you or anyone close to you ever been involved in any way with an antitrust matter or
15            dispute? □ Yes □ No
16            If yes, please describe:
17 10.        Please list your social, political, non-profit, professional, trade, civic, or religious
              organizations, clubs, groups, or other affiliations, any offices or leadership positions you
18            have held.
19 11.        Have you, a family member, or someone close to you ever had any education, training,
              work, or other experience involving the following? Circle all that apply.
20
              a.      Tech Industry: Yes, self / Yes, family / Yes, someone close
21
              b.      Law / legal field: Yes, self / Yes, family / Yes, someone close
22
              c.      Contracts: Yes, self / Yes, family / Yes, someone close
23
              d.      Data management or analysis: Yes, self / Yes, family / Yes, someone close
24
              e.      Data security: Yes, self / Yes, family / Yes, someone close
25
              f.      Computer science, programming, or engineering: Yes, self / Yes, family / Yes,
26                    someone close
27            g.      Online games / dating services / mobile applications: Yes, self / Yes, family /
                      Yes, someone close
28
                                                           -4-
                                     JOINT PROPOSED JURY QUESTIONNAIRE
           Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
           Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 5 of 10




 1             h.      Information technology: Yes, self / Yes, family / Yes, someone close

 2             i.      Statistics: Yes, self / Yes, family / Yes, someone close

 3             If you checked any of the above, please identify the person and describe the training or
               experience:
 4
     12.       Where do you get most of your news? (circle all that apply)
 5
               a.      Newspaper (which ones?):
 6
               b.      TV(channels?):
 7
               c.      Social Media (which platforms – e.g., Facebook, Twitter, Instagram?):
 8
               d.      Radio or Podcasts (what programs?):
 9
               e.      Magazines (which ones?):
10
               f.      Other Sources?:
11
     II.       GOOGLE’S OBJECTIONS
12
               Question 3: Google objects to the following subparts to Question 3:
13
                              “If you have downloaded apps onto your phone, from where have you
14                             downloaded those apps. Check all that apply. “

15                            “If you checked other, please list where you have downloaded apps.”
16                            “If you checked Google Play Store, please describe your use now or in the
                               past and describe whether you have had an especially good or bad
17                             experience.”

18             Google submits that these subparts are inappropriate for a questionnaire and are

19 prejudicial to Google. First, the questions are unnecessary and impose a burden on

20 prospective jurors to complete potentially lengthy narrative answers. Prospective jurors

21 will have already identified the operating system of their current and former mobile

22 devices, making additional questions about where jurors download apps partially

23 redundant (Apple iPhones can only download apps from Apple’s App Store). For

24 prospective jurors who check “Other,” Plaintiffs’ proposed question would require them to

25 list out every place, including websites, from where they ever downloaded an app.

26 Similarly, the questions ask prospective jurors to describe their use and experience of the

27 Google Play store in narrative form, which is unnecessarily burdensome for prospective

28 jurors.
                                                            -5-
                                      JOINT PROPOSED JURY QUESTIONNAIRE
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
       Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 6 of 10




 1           Second, the subparts are prejudicial to Google because they imply that the Google

 2 Play store is the only Android app store, notwithstanding the fact that a substantial

 3 majority of Android phones sold in the United States are preloaded with more than one app

 4 store (such as the Samsung Galaxy Store). The last subpart unfairly seeks prospective

 5 jurors’ “especially good or bad experience[s]” with the Google Play store, but not any

 6 other sources of Android apps, such as the Galaxy Store or Plaintiff Epic’s “Epic Games

 7 App.” Any potentially relevant information that could be gleaned from this question

 8 related to bias for or against Google is already covered in question 2, which asks in a more

 9 balanced fashion about prospective jurors’ opinions about all of the parties in the case.

10           Question 5: Google objects to the portion of Question 5 that states, “If you have

11 ever spent money on online dating, did you make the purchase in the app, on a website, or

12 both?” This question is unnecessary because Question 4 already will elicit information

13 about which prospective jurors spent money on online dating.

14 III.      PLAINTIFFS’ RESPONSES

15           Question 3: The subparts to this question seek additional clarifying information

16 about a prospective juror’s familiarity with various app stores and the process for

17 downloading applications. These subparts do not impose an undue burden on prospective

18 jurors and are comparable to other questions, to which Google has not objected, that ask

19 prospective jurors to give an explanation for a “yes” answer. (See Questions 6-9.) The

20 Parties have an interest in understanding a prospective juror’s experience with app stores

21 and the downloading of applications, and their general technological capabilities, which

22 are important topics in this case.

23           There is no prejudice to Google from listing the Google Play Store and asking

24 prospective jurors about their experiences with it. The Google Play Store is obviously

25 central to this litigation, making prospective jurors’ interactions and familiarity with it

26 relevant information for the Parties in jury selection.

27           Question 5: The subpart to this question seeks information that is distinct from Question

28 4, namely whether prospective jurors who have spent money on online dating made those
                                                          -6-
                                    JOINT PROPOSED JURY QUESTIONNAIRE
          Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
       Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 7 of 10




 1 purchases on an app, on a website, or both. Question 4, on the other hand, asks only whether and

 2 how often prospective jurors have spent money on online dating. Because this subpart seeks

 3 unique information, it is not unnecessary.

 4   Dated: October 2, 2023                        CRAVATH, SWAINE & MOORE LLP
                                                     Christine Varney (pro hac vice)
 5                                                   Gary A. Bornstein (pro hac vice)
                                                     Timothy G. Cameron (pro hac vice)
 6                                                   Yonatan Even (pro hac vice)
                                                     Lauren A. Moskowitz (pro hac vice)
 7                                                   Justin C. Clarke (pro hac vice)
                                                     Michael J. Zaken (pro hac vice)
 8                                                   M. Brent Byars (pro hac vice)

 9
                                                   FAEGRE DRINKER BIDDLE & REATH LLP
10                                                   Paul J. Riehle (SBN 115199)

11
                                                   Respectfully submitted,
12
                                                   By:    /s/ Gary A. Bornstein_____
13                                                       Gary A. Bornstein
14                                                       Counsel for Plaintiff Epic Games, Inc.
15

16

17
     Dated: October 2, 2023                        BARTLIT BECK LLP
18                                                   Karma M. Giulianelli

19                                                 KAPLAN FOX & KILSHEIMER LLP
                                                     Hae Sung Nam
20
                                                   Respectfully submitted,
21
                                                   By:    /s/ Karma M. Giulianelli___
22
                                                          Karma M. Giulianelli
23
                                                         Co-Lead Counsel for the Class in In re
24                                                       Google Play Consumer Antitrust Litigation

25

26

27

28
                                                        -7-
                                  JOINT PROPOSED JURY QUESTIONNAIRE
        Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
      Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 8 of 10




 1   Dated: October 2, 2023                        OFFICE OF THE UTAH ATTORNEY
                                                   GENERAL
 2
                                                   Brendan P. Glackin
 3                                                 Lauren Weinstein

 4
                                                   Respectfully submitted,
 5
                                                   By:    /s/ Lauren Weinstein
 6                                                        Lauren Weinstein
 7                                                        Counsel for Plaintiff States
 8   Dated: October 2, 2023                        HUESTON HENNIGAN LLP
                                                     Douglas J. Dixon
 9                                                   Christine Woodin
                                                     Joseph A. Reiter
10

11                                                 Respectfully submitted,
12                                                 By:     /s/ Douglas J. Dixon
13                                                          Douglas J. Dixon

14                                                        Counsel for Plaintiffs Match Group, LLC
                                                          et al.
15

16
     Dated: October 2, 2023                        MORGAN, LEWIS & BOCKIUS LLP
17                                                   Brian C. Rocca
                                                     Sujal J. Shah
18                                                   Minna L. Naranjo
                                                     Rishi P. Satia
19                                                   Michelle Park Chiu

20                                                 Respectfully submitted,

21
                                                   By:    /s/ Brian C. Rocca
22                                                        Brian C. Rocca
23                                                 Counsel for Defendants Google LLC et al.
24

25

26

27

28
                                                       -8-
                                 JOINT PROPOSED JURY QUESTIONNAIRE
       Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
      Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 9 of 10




 1
     Dated: October 2, 2023                        MUNGER, TOLLES & OLSON LLP
                                                     Glenn D. Pomerantz
 2
                                                     Kyle W. Mach
                                                     Kuruvilla Olasa
 3
                                                     Justin P. Raphael
                                                     Emily C. Curran-Huberty
 4
                                                     Jonathan I. Kravis (pro hac vice)
                                                     Lauren Bell (pro hac vice)
 5

 6                                                 Respectfully submitted,

 7                                               By:    /s/ Lauren Bell
                                                           Lauren Bell
 8
                                                   Counsel for Defendants Google LLC et al.
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       -9-
                                 JOINT PROPOSED JURY QUESTIONNAIRE
       Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
      Case 3:21-md-02981-JD Document 628 Filed 10/02/23 Page 10 of 10




 1                                      E-FILING ATTESTATION

 2

 3                 I, Lauren Bell, am the ECF User whose ID and password are being used to file this

 4 document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 5 signatories identified above has concurred in this filing.

 6

 7                                                                  /s/ Lauren Bell
                                                                    Lauren Bell
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                       -10-
                                  JOINT PROPOSED JURY QUESTIONNAIRE
        Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:21-cv-05227-JD; 3:22-cv-02746-JD
